                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                      CRIMINAL CASE NO. 1:09cr51-6


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                    ORDER
                            )
                            )
TRINA JO WILLIS.            )
                          )



        THIS MATTER is before the Court on a letter from the Defendant [Doc.

152].

        The Defendant’s conviction and sentence became final in June 2010.

[Doc. 118]. Her Judgment of Conviction was amended in January 2011 to

correct the identity of the victim for the purposes of paying restitution. [Doc.

148].    The Defendant did not appeal from either the Judgment nor the

Amended Judgment. Neither did she filed a motion pursuant to 28 U.S.C.

§2255 to vacate, correct or set aside her conviction and sentence.

        In her letter, which is construed as a motion, the Defendant requests

that her obligation to pay restitution be shared equally with her husband, who

was also a co-defendant and who is also in custody. The Court has already




   Case 1:09-cr-00051-MR-WCM      Document 155    Filed 09/27/12   Page 1 of 3
entered judgment holding that the obligation for restitution is joint and several

between the Defendant and her husband/co-defendant. [Doc. 148 at 6]. In

any event, the Court may not further modify or amend the provisions of that

Judgment. United States v. Evans, 103 F.3d 121 (4 th Cir. 1996) (restitution

order in judgment could not be challenged where defendant did not appeal or

file motion pursuant to 28 U.S.C. §2255).           Defendant also asks that the

restitution obligtaion be split so that she is only responsible for half. The

Judgment, however, makes the obligation joint and several, meaning that both

she and her co-defendant are responsible for the full amount until it is fully

paid. Defendant has stated no basis for removing the joint and several

requirement.

      The Defendant also asks that this Court modify that provision of her

Judgment which provides for her participation in the Inmate Financial

Responsibility Program (IFRP).         The proper vehicle for challenging the

payments an inmate is required to make through the IFRP is a petition

pursuant to 28 U.S.C. §2241 filed in the district in which she is incarcerated.

United States v. Savage, 466 F. App’x. 68 (3 rd Cir. 2012); Coleman v. Brooks,

133 F. App’x. 51 (4 th Cir. 2005).

      IT IS, THEREFORE, ORDERED that the Defendant’s letter, construed



                                         2


   Case 1:09-cr-00051-MR-WCM         Document 155    Filed 09/27/12   Page 2 of 3
as a motion, is hereby DENIED.

                                         Signed: September 26, 2012




                                     3


   Case 1:09-cr-00051-MR-WCM     Document 155   Filed 09/27/12   Page 3 of 3
